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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 4-29-21

purpose of initiating the civil docket sheet.
I. (a) PLAINTIFFS

Carlos Martinez

(b) County of Residence of First Listed Plaintiff

Suffolk County

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Pechman Law Group PLLC, 488

Floor, New York, New York 10022; 212-583-9500

Madison Avenue, 17th

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS
Floor and Decor Outlets of America, Inc.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
IE TRACT OF LAND INVOLVED.
Attomeys (if Known)

 

 

 

 

 

   

 

 

 

    

 

   

 

 

 

 

   

 

 

 

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(J1 U.S. Government (3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [J 1 [[] 1 Incorporated or Principal Place O4 Da
of Business In This State
(J2 U.S. Government [x]4 Diversity Citizen of Another State (2 [C2 Incorporated and Principal Place ([_] 5 [k]5
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Does this action include a motion for temporary restraining order or order Citizen or Subject of a (13 (13 Foreign Nation Oe Oe
to show cause? Yes[_] No[_)” Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Ont
‘CONTRACT: : EE ETOR TS ices ele eee ER ORES ALTY: y s
110 Insurance PERSONAL INJURY PERSONALINJURY [7 ]625 Drug Related Seizure 422 Appeal 28 USC. 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability oO 367 Health Care/ 400 State Reapportionment
[_] 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical ‘PROPERTY:RIG 410 Antitrust
& Enfi of Judg: Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers” Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability oO 368 Asbestos Personal 835 Patent- Abbreviated |__| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application [| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
oO 153 Recovery of Overpayment Liability PERSONAL PROPERTY [2 Z0GA 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
| _} 190 Other Contract Product Liability [_] 380 Other Personal | _]720 Labor/Management O S Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury [[) 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|} 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
[REE REAB PROPERTY "goClViL: ? =£1%]790 Other Labor Litigation 865 RSI (405(g)) + 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act SREDERY i TS=5| | 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property |] 445 Amer. wiDisabilitis -L_] 535 Death Penalty % EMMIGRATIO) 3 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
_] 446 Amer. wDisebilities -[_} 540 Mandamus & Other 2 Other Immigration |] 950 Constitutionatity of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Piace an “xX” in One Box Only)
1 Original 2 Removed from
EI Proceeding O State Court

VI. CAUSE OF ACTION

 

3 Remanded from

Appellate Court

o4 Reinstated or oO 5 Transferred from
Reopened

6 Multidistrict
Litigation -
Transfer

oO 8 Multidistrict
Litigation -
Direct File

Another District

(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
28 U.S.C. § 1332(d), Class Action Fairness Act

Brief description of cause:
Failure to pay wages due by time limits set forth under the New York Labor Law

 

 

 
 

 

 

 

 

 

VII. REQUESTED IN _ [xX] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. Oo JURY DEMAND: — []Yes [No
VIII. RELATED CASE(S) a
instructi o
IF ANY (See instructions) 4 DOCKET NUMBER
DATE OF RECORD
3/14/23
FOR OFFICE USE ONLY Co / a ’~
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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CERTIFICATION OF ARBITRATION ELIGIBILITY

Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a

certification to the contrary is filed.

Case is Eligible for Arbitration [|

I, Louis Pechman , counsel for. , do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

 

monetary damages sought are in excess of $150,000, exclusive of interest and costs,
the complaint seeks injunctive reltef,
| the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section Vill on the Front of this Form)

Please list all cases that are arguably retated pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that * A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves Identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

NY-E DIVISION OF BUSINESS RULE 1(c)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County? Cl Yes MW No

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? WY Yes [] No

b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? Yes No

C) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
received: :
If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader qc does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County? es No
(Note: A corporation shail be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION
| am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
Ww Yes oO No
Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

oO Yes_ (If yes, please explain No

   
  

| certify the accura€y6 nformatioyrprovided above.

Signature:

 

Last Modified: 11/27/2017
